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                                          REDACTED VERSION OF
                                          DOCUMENT SOUGHT TO
                                          BE SEALED


                    Exhibit 6
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 II.   Apple must produce documents concerning “consumers, transactions, and activities
       taking place outside of the United States”.

               In its December 1, 2020 letter, Apple restated its objection to producing
documents responsive to certain Pepper and Cameron requests to the extent such documents
concern “consumers, transactions, and activities taking place outside of the United States”
because such requests are “not relevant to the claims or defenses in this action or otherwise
outside the proper scope of discovery”. (Apple’s Letter at 3.) In its Responses, Apple similarly
objected to producing information about sales outside of the United States for certain Epic
requests.

                 These objections are improper. In support of its objections, Apple cited the
Foreign Trade Antitrust Improvement Act (“FTAIA”). (Apple’s 12/1/20 Letter at 2.) But “the
FTAIA does not prohibit the discovery of information that is otherwise discoverable”. In re
Aspartame Antitrust Litig., 2008 WL 2275531, at *2 (E.D. Pa. May 13, 2008) (citation omitted);
see also, e.g., In re eBay Seller Antitrust Litig., 2008 WL 3925350, at *1 (N.D. Cal. Aug. 22,
2008) (the FTAIA does “not [govern] the discoverability of evidence” “as relevance does not
necessarily stop at the shores of the United States”). None of Apple’s cited cases even discusses
discovery in the context of FTAIA.

               Epic has alleged that the relevant markets are worldwide. (Epic’s Complaint,
Dkt. 1, ¶ 57 (“The geographic scope of the iOS App Distribution Market is worldwide, as
consumers and developers can access iOS worldwide”); ¶ 118 (“The geographic scope of the iOS
In-App Payment Processing Market is worldwide, as consumers and developers can access iOS
worldwide.”); see also Evans Decl., Dkt. 62, at 10 n.37.) Thus, there is no justification for Apple
to withhold from Epic documents that are otherwise responsive to the Pepper and Cameron
requests on the basis that such documents concern consumers, transactions, and activities taking
place outside of the United States.

               The same is true with respect to each Epic request to which Apple asserted this
objection:

                Epic’s Request No. 18 (third-party settlement providers): Apple has defended
IAP on the ground that “[b]ecause of IAP . . . developers are saved the hassle of setting up
payment infrastructure to handle transactions in 175 different countries across 45 different local
currencies”. (Apple’s Answer and Counterclaims, Dkt. 66, at ¶ 12.) Of course Epic is entitled to
discovery on Apple’s payment processing practices in those 175 different countries. Apple
cannot assert that IAP is procompetitive on the ground that it facilitates seamless foreign
transactions while withholding discovery on those same transactions.

                Epic’s Request Nos. 56-58, 60 (competition and consumer demand related
studies, analyses, and surveys): As noted, Epic has alleged that the relevant markets are
worldwide. Even Apple has argued that its market power should be assessed based in part on its
“share of the global market for smartphone sales”. (Apple’s Opp’n to Epic’s Mot. For

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documents in centralized locations, Apple must search for them there. Once again, Epic is
entitled to the complete set.

              Please confirm that Apple will conduct reasonable searches of non-custodial
sources and produce non-privileged documents responsive to these requests. 3

IV.       Apple must produce documents from beyond the time period January 1, 2017
          through August 13, 2020, for certain requests.

               In General Objection No. 15 of its Responses, Apple states that it “will collect and
produce documents for the time period January 1, 2017 through August 13, 2020”. Although
Epic is generally amenable to this limitation, General Objection No. 15 is unreasonable as to
certain categories of requests. 4

                First, Apple should not apply this limit to non-custodial searches for Request
Nos. 15-18, 54. As explained in Section III above, the complete sets for these requests are
relevant, even if some of the documents were created outside of the time period January 1, 2017
through August 13, 2020.

               Second, Epic’s “Requests Concerning Apple’s Retaliation Against Epic” (Request
Nos. 65-70) require searching on and after August 13, 2020 because Apple’s retaliation only
began on that date. In the interests of compromise, Epic requests that Apple search the files of
Trystan Kosmynka, Philip Schiller, Josh Doss, Mark Grimm, Robert Partington, and Mike
Schmid through August 20, 2020, as these are the “custodians most likely to have Epic-specific
documents” according to Apple (see Apple’s November 23, 2020 Letter to Epic).

               Third, Apple should not apply General Objection No. 15 to Epic’s Request
Nos. 32-38, 43-44, 65-66. These requests concern App Store Review Guidelines created or
modified after August 13, 2020. As such, Apple should determine the appropriate custodians
whose files should be searched for these requests after August 13, 2020.

              Please confirm that Apple will perform these requested searches and will not
apply General Objection No. 15 to the above requests. Please also confirm that Apple will not
withhold any documents in response to any requests on the basis that the documents fall outside



      3
      Although Apple’s deadline to respond to Epic’s Second Set of Requests for Production has
not passed yet, for reasons similar to the above, Apple should conduct reasonable searches of
non-custodial sources for Request Nos. 82-83 (studies concerning web apps).
      4
     We assume that Apple will not apply General Objection No. 15 to Epic’s Request Nos. 1-2
(concerning discovery in Pepper and Cameron) or 64 (documents Apple intends to use in this
Action), but please tell us if we are mistaken.

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of the time period January 1, 2017 through August 13, 2020, to the extent such documents
appear in Apple’s searches. 5

 V.       Apple should not construe “Apple” to refer to only “Apple Inc. and its employees”.

               In General Objection No. 14 of its Responses, Apple states that it “will construe
the terms ‘Apple,’ ‘You,’ and/or ‘Your’ to refer to Apple Inc. and its employees” and objected to
including Apple’s “predecessors, successors, subsidiaries . . . affiliates . . . consultants and
representatives”.

                This objection is unreasonable. Epic lacks sufficient information about Apple’s
corporate affairs to tailor its requests to particular Apple entities, and it would be inefficient for
Epic to separately subpoena every Apple entity. For example, Request Nos. 15-17 seek certain
developer agreements. Epic does not know whether Apple Inc.—or some Apple subsidiary—is a
party to these agreements. To the extent that any of the agreements responsive to Request
Nos. 15-17 are with Apple entities other than Apple Inc., Epic expects that Apple will not
withhold such agreements based on General Objection No. 14.

              Please confirm that Apple will not withhold any documents based on General
Objection No. 14.

VI.       Apple should not withhold documents concerning hotfixes by developers other than
          Epic.

                Epic’s Request No. 67 seeks “All Documents Concerning Hotfixes in Apps
distributed through the iOS App Store or the macOS App Store”. Apple states that it will limit
its production to “Epic’s use of Hotfixes”.

               This limitation is unreasonable. In Epic’s November 20, 2020 letter to Apple,
Epic explained why documents relating to hotfixes by other developers are relevant to Epic’s
claims and Apple’s counterclaims and defenses. Epic has alleged that Apple retaliated against
Epic to maintain its monopolies and foreclose competition, not because of any objection to
hotfixes per se. Thus, documents showing Apple’s response or lack of response against other
developers for similar conduct are clearly relevant. Epic assumes that Apple has withdrawn this
objection, given Apple’s November 24, 2020 letter to Epic, stating that “to the extent our review



      5
      With respect to Epic’s Second Set of Requests for Production of Documents, Apple should
not apply General Objection No. 15 to Request Nos. 71-78, 80, which concern the App Store
Small Business Program that was announced on November 18, 2020—over three months after
the cutoff in General Objection No. 15. Nor should Apple apply General Objection No. 15 to
Epic’s Request No. 81, which concerns a hotfix by Amazon that appears to have been discovered
by Apple in January 2016—almost a year before the starting date of General Objection No. 15.

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encounters additional responsive and non-privileged documents relating to [Amazon’s hotfix],
they will be produced”.

              Please confirm that Apple has withdrawn the objection to Epic’s Request No. 67,
and will produce all non-privileged documents responsive to this request.

                                               ***

               Epic is available to meet and confer with Apple on any of the above-referenced
requests, including Request No. 51 (Apple ID), for which Apple specifically stated it is available
to meet and confer. Please advise as to Apple’s availability to meet and confer on Friday,
December 18, 2020.

             Epic reserves all rights, including the right to respond to additional objections in
Apple’s Responses.


                                                 Sincerely,



                                                 s/ Lauren A. Moskowitz

Jay P. Srinivasan
GIBSON, DUNN & CRUTCHER LLP
jsrinivasan@gibsondunn.com
AppleAppStoreDiscovery@gibsondunn.com

E. Joshua Rosenkranz
William F. Stute
ORRICK, HERRINGTON & SUTCLIFFE LLP
jrosenkranz@orrick.com
    wstute@orrick.com

Steve W. Berman
Robert F. Lopez
Shana E. Scarlett
Ben Siegel
Ted Wojcik
HAGENS BERMAN SOBOL SHAPIRO LLP
steve@hbsslaw.com
    robl@hbsslaw.com
        shanas@hbsslaw.com
           bens@hbsslaw.com
               tedw@hbsslaw.com
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Mark C. Rifkin
Rachele R. Byrd
Matthew M. Guiney
Brittany N. DeJong
WOLF HALDENSTEIN ADLER FREEMAN & HERZ LLP
rifkin@whafh.com
    byrd@whafh.com
       guiney@whafh.com
           dejong@whafh.com

BY EMAIL




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